  Case 18-15691-CMG          Doc 43-19 Filed 05/08/18 Entered 05/08/18 21:30:37           Desc
                                 Proposed Order Page 1 of 2



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
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                                                   Case No.:      18-15691 (CMG)
In Re:                                             Chapter:       11
AMERICAN CENTER FOR CIVIL JUSTICE,                 Judge:         Christine M. Gravelle
INC.
                                                   Hearing Date and Time:
                       Debtor-in Possession.       May 29, 2018 at 10:00 a.m.



     ORDER GRANTING MOTION OF DIANA CAMPUZANO, AVI ELISHIS
  AND GREGG SALZMAN DIRECTING THE APPOINTMENT OF A CHAPTER 11
   TRUSTEE PURSUANT TO 11 U.S.C. § 1104(a) AND FED R. BANKR. P. 2007.1


         The relief set forth on the following page two (2) is hereby ORDERED.
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Debtor:                    AMERICAN CENTER FOR CIVIL JUSTICE, INC.
Case No.                   18-15691 (CMG)
Caption of Order:          ORDER GRANTING MOTION OF DIANA CAMPUZANO, AVI ELISHIS, AND GREGG
                           SALZMAN DIRECTING THE APPOINTMENT OF A CHAPTER 11 TRUSTEE PURSUANT
                           TO 11 U.S.C. § 1104(a) AND FED R. BANKR. P. 2007.1



           Upon the motion of Diana Campuzano, Avi Elishis and Gregg Salzman for the appointment of

a Chapter 11 trustee pursuant to 11 U.S.C. § 1104(a) and Fed. R. Bankr. P. 2007.1 (the “Motion”), and

notice and opportunity for hearing having been given to the Debtor, creditors and other parties-in

interest; and upon consideration of any and all objections and/or responses that were filed in opposition

to the Motion; and notice of the Motion being adequate and sufficient; and after due deliberation and

sufficient cause appearing therefor;

           IT IS HEREBY ORDERED THAT:

           1.       The Motion is GRANTED, in its entirety.

           2.       The Office of the United States Trustee is hereby directed to appoint a Chapter 11

trustee.

           3.       The Court retains jurisdiction to interpret and enforce the terms of this Order.
